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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

 

 

J.E.C.M., et al., )
)
Plaintiffs/Petitioners, )
)
v. ) Civ. No.: 1:18-cv-903-LMB-MSN
)
CINDY HUANG, Director, )
Office of Refugee Resettlement, et ai., )
)
Defendants/Respondents. )
_)
"ORDER

Upon consideration of plaintiffs’ Consent Motion for Enlargement of Time, and for good
cause shown, it is hereby

ORDERED that plaintiffs’ motion is GRANTED, and it is further

ORDERED that, on or before June 8, 2022, plaintiffs shall file a supplemental

memorandum concerning the recent decision in Lucas R. v. Becerra, No. 2:18cv5741 (C.D.

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Leonie M. Brinkerfa
United States District Judge

Cal.).

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Entered this Q'7day of May, 2022
